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Cl` COURT
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-vs- Case No. 2:00cr20122-099-
WYNTA EARNEST

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,

the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL
' The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
' Probation/Supervised Release Violation

DONE and ORDERED in 167 North Main, Memphis, this @’£ day of August,
2005.

<Z."/'/?E»,¢,

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies himished to:

United States Attorney

United States Marshal

Pretrial Services Office

Assistant Federal Public Defender
Intake

WYNTA EARNEST §
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Notice of Distribution

This notice confirms a copy of the document docketed as number 88 in
case 2:00-CR-20122 Was distributed by faX, mail, or direct printing on
August 5, 2005 to the parties listed.

 

 

Tracy Lynn Berry

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FEDERAL PUBLIC DEFENDER
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Honorable Bernice Donald
US DISTRICT COURT

